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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                                   Miami Division
                         Case No. 16-cv-20872-LENARD/GOODMAN

  JESUS LAZARO COLLAR,

         Plaintiff,

  v.

  ABALUX INC. and
  JUAN D. CABRAL,

       Defendants.
  __________________________/

                      DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

         ABALUX, INC. (“ABALUX”), and JUAN D. CABRAL (“CABRAL”), referred to

  collectively as “Defendants,” through undersigned counsel, and pursuant to F.R.Civ.P

  56(c) and L.R. 56.1, moves for entry of a summary judgment against JESUS LAZARO

  COLLAR (“COLLAR”) A concise statement of undisputed material facts is filed

  simultaneously. Exhibits referred to in this motion are found under the tab in the Appendix

  which accompanies this motion.

                            I. Overview of Claims and Defenses

         Plaintiff brings a claim under the Fair Labor Standards Act for overtime pay.

  Defendants claim Plaintiff is not entitled to overtime pay because ABALUX was not an

  “enterprise engaged in commerce” in any year that Plaintiff worked for it because by virtue

  of its failure to have $500,000.00 or more in annual gross volume of sales. Defendants

  further contend that Plaintiff is not individually covered by the FLSA because he did not



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  order goods or materials from out of state or travel out of state in connection with his job

  duties.

                                         II. Legal Standards
                                                   .
                The purpose of a summary judgment motion is “...to see whether there is a genuine

  need for trial.” Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475 U.S. 574, 587, 89

  L. Ed. 2d 538, 106 S. Ct. 1348 (1986). Defendants must either show that Plaintiff has no

  evidence to support his case or present “affirmative evidence demonstrating that Plaintiff

  will be unable to prove its case at trial.” United States v. Four Parcels of Real Property,

  941 F. 2d 1428, 1437-38 (11th Cir. 1991) (en banc).

                While inferences from the evidence must be drawn in favor of COLLAR, he “may

  not rest upon mere speculation or denials”, but “must set forth specific facts showing that

  there is a genuine issue for trial.” [E.S.] Anderson v. Liberty Lobby, Inc., 477 U.S. 242,

  252, 106 S. Ct. 2505, 91 L. Ed. 202 (1986); Thompson v. Miami-Dade County, 2009 U.S.

  Dist. LEXIS 33486 (S.D. Fla. 2009). The mere existence of some factual dispute will not

  defeat summary judgment unless that factual dispute is material to an issue affecting the

  outcome of the case.                               The relevant rules of substantive law dictate the materiality of a

  disputed fact. Chapman v. AI Transport, 229 F.3d 1012, 1023 (11th Cir. 2000).

                Summary judgment in Defendants favor is warranted because there is no material

  disputed fact that ABALUX, INC. was not an “enterprise engaged in commerce” and

  COLLAR was not individually engaged in commerce during the Relevant Time Period. 1

                                                              
  1   Since facts must be construed in a light most favorable to the non-moving party at
  summary judgment, ABALUX uses the term “Relevant Time Period” in this motion to
  mean the period of Plaintiff’s employment from 8/26/13 through 1/14/16. ABALUX does
  not concede a three year Statute of Limitation is appropriate assuming there is FLSA
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                                                                    III. Argument

                To be entitled to recover overtime pay under the FLSA, an employee must prove

  either that he works for an “enterprise engaged in commerce” or is individually covered.

  Enterprise coverage applies where: (1) the employer has two or more employees

  regularly and recurrently engaged in commerce, or has two or more employees regularly

  and recurrently 'handling, selling, or otherwise working on goods or materials that have

  been moved in or produced for commerce by any person and (2) the employer's annual

  gross volume of sales is $500,000 or more. See Dent v. Giaimo, 606 F.Supp.2d 1357,

  1360 (S.D. Fla. 2009).                                 A plaintiff’s proof of enterprise coverage cannot be based on

  beliefs, speculation, or conjecture. Josendis v. Wall to Wall Repairs, Inc, 662 F. 3d 1292

  (11th Cir. 2011); Arilus v. DiEmmanuele, 895 F. Supp 2d 1257 (S.D. Fla. 2012) aff’d, 522

  Fed. Appx. 881 (11th Cir. 2013).

                For "individual coverage" to apply under FLSA, Plaintiff must prove that he actually

  was engaged in commerce. 29 U.S.C. § 206(a)(1). The work of employees "engaged in

  commerce" involves or relates to "the movement of persons or things (whether tangibles

  or intangibles, and including information and intelligence) among the several States or

  between any State and any place outside thereof." 29 C.F.R. § 776.9; Steward v. Sterling

  Technical Solutions, LLC., 2012 U.S. Dist. LEXIS 93553 (M.D. Fla. 2012).




                                                              
  jurisdiction and reserves its Statute of Limitations defense to limit unpaid overtime to two
  years. COLLAR filed his complaint on 3/9/16.

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                           Plaintiff is not Individually Covered by the FLSA

         Plaintiff’s complaint does not allege that he, himself, engaged in interstate

  commerce. [DE 1].      Even if it did, any attempt by Plaintiff now to establish individual

  coverage is hindered by his discovery responses and deposition testimony.              Plaintiff

  admitted that 1) he performed all of his work within the State of Florida and 2) he did not

  order goods or materials from out of state for use in ABALUX’s business. [TAB I, Collar

  Depo, pp. 121-122; TAB J, Collar responses to RFA # 1 and # 3;].

         Plaintiff’s admissions establish there is no disputed issue of fact that Plaintiff is not

  entitled to overtime as an individual who engaged in commerce and require entry of

  summary judgment in ABALUX’s favor on the issue of individual coverage.

                                          Enterprise Coverage

         29 U.S.C. § 203(s) sets out criteria by which to determine whether an employer is

  covered by the FLSA.       ABALUX has admitted that it engaged in interstate commerce

  and employed two or more employees who handled goods and materials that had moved

  through commerce. Plaintiff’s case, therefore, hangs on his ability to present definitive

  proof that ABALUX’s annual gross volume of sales or business done met or exceeded

  $500,000.00 exclusive of excise taxes at the retail level which was separately stated

  during the Relevant Time Period. See 29 U.S.C. § 203(s)(1)(A)(ii).

         The FLSA defines a “sale” to be “any sale, exchange, contract to sell, consignment

  for sale, shipment for sale or other disposition.” 29 U.S.C. § 203(k). Congress’ definition

  of “sale” implies that a business owns or has a possessory interest in the inventory,

  assets, goods or services it offers in exchange for consideration. The U.S. Department

  of Labor’s (“DOL”) regulations and guidelines express this intent. As an example, 29 CFR.
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  779.331 states: “In considering whether there is a sale of goods or services and whether

  such goods or services are sold for resale in any specific situation, the term “sale”

  includes, as defined in section 3(k) of the Act, “any sale, exchange, contract to sell,

  consignment for sale, shipment for sale, or other disposition.” [E.S.].

                Not every transaction by a business under the FLSA constitutes a “sale.” See,

  Lopez v. Ans, 2010 U.S. Dist. LEXIS 7543 (S.D. Fla. 2010) [loan is not a “sale” or

  “business done”, only interest derived from a loan counts towards $500,000.00 threshold];

  Jensen v. Johnson County Youth Baseball League ,838 F. Supp 1437 (D. Kan. 1981)

  [value of government land leased as a sports field is not counted as “business done”].

  DOL regulations also establish that a business’ annual gross volume of sales excludes

  customer returns, discounts, coupons and the like. [E.S.] See, 29 C.F.R. § 259 and

  Marckenson v. Peker, 2011 U.S. Dist. LEXIS 121035 (S.D. Fla. 2011) applying that

  regulation. Likewise, reimbursements and refunds do not count as sales. Martinez-

  Pinillos v. Air Flow Filters, Inc., 738 F. Supp. 2d 1268 (S.D. Fla. 2010.)

  A.            Methods of Accounting Accepted by DOL

                29 CFR §779.265 establishes that a business’s gross volume of sales or business

  done is to be measured by a twelve (12) month period which is either a calendar year, a
                                                                                 2
  fiscal year or by using the rolling quarter method, if appropriate.                The sales records



                                                              
  2
         Per DOL regulation, the rolling quarter is used when a business has met the
  threshold for enterprise coverage in the year before but it is not clear whether the
  business will reach that threshold in the current year. The rolling method does not
  apply here because ABALUX’s annual gross volume of sales in 2012 and 2013 were
  well below the $500,000.00 threshold. See [TAB A; TAB D, 6/2/17 Marcos Declaration]

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  maintained by a business as a result of accounting procedures used for tax or other

  business purposes may be utilized to calculate gross volume of sales so long as the

  accounting procedure is used consistently and the procedure accurately reflects the

  annual volume of sales or business done. Id. Therefore, contrary to what Plaintiff argues,

  neither courts nor the DOL have adopted a “preferred” or required method of accounting

  for FLSA purposes. It is the business and its accountants---not an employee or his

  attorneys---who choose the accounting method by which to determine annual gross

  volume of sales. The Eleventh Circuit has accepted that the cash method of accounting

  is an appropriate means of establishing FLSA jurisdiction. Arilus v. DiEmmanuele, 895

  F. Supp 2d 1257 (S.D. Fla. 2012), aff’d, 522 Fed. Appx. 881 (11th Cir. 2013).

         When a business elects a calendar year and uses a cash basis method of

  accounting, its annual gross volume of sales is determined by the revenue that is actually

  or constructively received within a calendar year. See [TAB G, IRS Publication 538].

  B.     ABALUX’s Accounting Methods.

         During the Relevant Time Period, ABALUX elected to use a calendar year as its

  fiscal year.   It also elected a method of accounting known as “cash/accrual.” The

  “cash/accrual” method of accounting allows a business to record a sale when the funds

  for that sale are actually or constructively received and to accrue accounts payable as an

  expense on its annual corporate income tax return. [TAB E, Massa Declaration].         The

  “cash/accrual” method of accounting has been used by ABALUX since 2012.                [Id].

  ABALUX’s annual gross volume of sales, therefore, is measured by the revenue it actually

  or constructively received from January 1 through December 31st of each calendar year


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  during the Relevant Time Period.                                     [TAB D, 9/1/17 Marcos Declaration; TAB E, Massa

  Declaration; TAB F, 9/7/17 Cabral Declaration, TAB G, IRS Publication 538].

                ABALUX consistently used an accounting program known as Quickbooks™ to

  track its sales and business receipts during Plaintiff’s employment. [TAB D, Marcos

  Declarations; TAB E, Massa Declaration;TAB F, Cabral 9/7/17 Declaration].                                       All of

  ABALUX’s sales and all of its receipts, whether in the form of cash, checks, credit card
                                                                                            3
  payments or EFT’s, were recorded in Quickbooks.™                                              ABALUX’s administrative

  assistant, Michelle Marcos, recorded each sale in Quickbooks upon receipt of payment

  by the customer. [TAB D, 7/7/17 and 9/1/17 Marcos Declarations].

                For example, when a sale was paid for by check, payment was recorded in

  Quickbooks by Ms. Marcos on the day the check was received from the customer, not the

  day the check cleared the bank. When a customer paid for an order by credit card, Ms.

  Marcos recorded the sale in Quickbooks on the day the customer’s credit card was run

  through the credit card terminal, not the day that the funds were released to ABALUX by

  the credit card processor.                                     She did the same for EFT payments and cash payments.

  [TAB D, 9/1/17 Marcos Declaration].




                                                              
  3
               During the course of this case, ABALUX discovered that a temporary employee hired
  in 2015 had failed to record some transactions onto its State of Florida Department of
  Revenue sales tax reports (“DR-15s”). [TAB E, Marcos Declaration]. When discovered,
  ABALUX amended its DR-15s to increase the amount of tax it owed for 2015 as well as
  its 2015 corporate income tax return. These amended returns were provided to Plaintiff
  before the discovery cut-off.

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                                                                                           4
                The same holds true for orders placed through ABALUX’s website.                When a

  customer placed an order on ABALUX’s website, Ms. Marcos created an invoice for the

  customer through Quickbooks and sent it to the customer’s email address. When the

  customer opened the email and clicked on the invoice, it linked the customer to Intuit’s
                     5
  website.                 Intuit allowed the customer to pay for the order through credit card or EFT

  transfer and then automatically recorded in Quickbooks. Intuit recorded payment on the

  date it was, not the date that the funds into ABALUX’s bank account. [Id].

  C.            ABALUX’s Gross Receipts for the Relevant Time Period

                ABALUX’s Quickbook™ registers showed the following figures for gross revenue

  in 2014, 2015 and 2016: 6

                2014 $ 493,817.46

                2015 $ 505,973.33

                2016 $ 457,367.44

  The gross revenue for each year included : 1) State of Florida sales tax which ABALUX

  was required to collect and remit to the Florida Department of Revenue (“FDOR”) on all


                                                              
  4
         While ABALUX’ website showed a “shopping cart” icon, it had no e-commerce
  platform where a customer could make a payment for the order on-line. [TAB D, 9/13/17
  Marcos Declaration].

  5
              Intuit owns and licenses the Quickbooks program. It also owns an on-line platform
  which can be used by Quickbooks licensees to receive customer payments. See
  intuit.com.

  6
          Defendants’ annual gross volume of sales or business done for 2012 ($208, 014) and
  2013 ($368,017) were so low the Magistrate Judge determined any additional discovery
  was highly unlikely to uncover any revenue that would put ABALUX at or near the
  $500,000.00 threshold for enterprise coverage. The analysis in this motion, therefore,
  concentrates on the years 2014-2016.
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  non-tax exempt sales; and 2) building permit fees paid to local governments for which

  ABALUX advanced payment on behalf of customers and then sought reimbursement.

  D.            Sales Tax at the Retail Level

                The amount of sales tax collected by ABALUX during the Relevant Time Period

  for both retail and wholesale sales was reported to FDOR on monthly DR-15 reports that

  ABALUX filed under oath. [ TAB D, 7/7/17 Marcos Declaration; TAB F, 9/7/17 Cabral

  Declaration]. ABALUX reported the following amounts of sales tax to FDOR for the stated

  years: 7

                2014: $ 8,880.88 for all customers 8

                2015 $10,467,96 (broken down as $6,255.88 for retail sales and $4,212,08 for
                                wholesale customers)

                2016 $ 9,140.35 for all customers

  [TAB D, 7/7/17 and 9/1/17 Marcos Declarations]. ABALUX separately stated the amount

  of sales tax it was required to collect on customer invoices. [TAB B]. Therefore, in accord

  with 29 C.F.R. 203(s)(A)(ii), the amount of sales tax charged to retail customers was

  excludable from the revenue ABALUX collected and recorded in Quickbooks. See Eaton

  v. Blackman, 450 F. 2d.70 (8th Cir. 1971); Lopez-Santiago v. Coconut Thai Grill, 2014


                                                              
  7
         The discovery of unrecorded revenue in 2015 also required ABALUX to amend its DR15
  reports for 2015. The amendments were completed and provided to Plaintiff before the
  discovery cut-off.
   
  8
        ABALUX did not break down the sales tax in years 2014 and 2016 into that charged at
  the retail level and wholesale level because even if the entire amount of sales tax
  collected for those years was deemed to be at the wholesale level (and therefore counted
  as part of annual gross volume of sales), it still would not put ABALUX at or over the
  $500,000.00 threshold. ABALUX did break down the sale tax for 2015 into retail and
  wholesale for the purposes of summary judgment. [TAB D, 9/1/17 Marcos Declaration].
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   U.S. Dist. LEXIS 27028 (N.D. Tex. 2014); Donovan v. Recoil Corp., 1983 U.S. Dist. LEXIS

   16027 (E.D. La. 1983).

          Even if no there were no other receipts that were excludable in 2015, the deduction

   of retail sales tax would place ABALUX’s 2015 gross sales at $499,717.45 -- “close but

   no cigar” to reaching FLSA coverage.

   E.    Building Permit Fees

          Building permits issued by local governments were required by customers for

   certain sign installations. CABRAL’s 9/7/17 declaration [TAB F] explains in that in some

   cases ABALUX not only sold a sign but its services for installation of the sign.    When

   installation required local government permitting and inspections and ABALUX was

   requested to assist in these processes, ABALUX charged the customer a permit

   processing service charge.

          The permit processing service charge covered the company’s time involved in

   preparing a package of drawings and specifications for the sign project, submitting the

   package to the local government’s building department for approval, conferring with

   building department officials and calling for and being present for building department

   inspections. The permit processing service charge was shown on the customer’s invoice

   as a separate entry. [TAB C].     But, the charge did not include the cost of the actual

   building permit which always remained the customer’s responsibility. [TAB F, Cabral

   Declaration].   That a building permit was not a service or commodity that ABALUX

   stocked, sold, re-sold or could transfer to a customer is demonstrated by the following:

          First, a building permit is not a “thing” which ABALUX owns or had the ability to

   possess or control. Building permits are issued by the local government of the jurisdiction
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   in which the customer’s sign is to be installed. Local governments, therefore, “own” the

   permit and “sell” the permits. Local governments do not give ABALUX or any other entity

   the right to stock, sell or re-sell building permits. Building permits are issued one at a

   time and only if each particular application is approved by the local government’s

   building department. ABALUX has no say in whether a building permit will, should or

   should not be issued. [Id].

          Second, when ABALUX applies to a local government for a building permit, it is

   doing so on behalf of the customer. The building permit is issued in the customer’s name.

   ABALUX acquires no rights in and to the building permit. The local government continues

   to retain control over the permit and has the right to revoke it until the sign project is

   completed and inspected by the local government’s building official. In effect, a building

   permit is a license issued by a local government to a customer to erect a sign. [Id].

   Although ABALUX may outlay money to pay for a customer’s building permit, its invoice

   for reimbursement is not a “re-sale” of the permit because it never had an ownership

   rights or a possessory interest in the permit in the first place..

          Third, unlike inventory or services which ABALUX offers for sale, ABALUX has no

   ability to set the fees charged for a building permit.      A local government controls the

   “price” it will charge for building permits in its jurisdiction. And, because building permit

   fees vary from government to government and from job to job, ABALUX could not tell a

   customer in advance how much a check should be made out for to pay its permit fee. [Id].

          For that reason, and in order to expedite the issuance of the building permit,

   ABALUX adopted a practice to outlay its own funds to pay for the local government’s

   permit fee and then seek reimbursement by separate invoice (created through
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                                   9
   Quickbooks) to the customer.        [TAB F, Cabral 9/7/17 Declaration; TAB C].       ABALUX

   tacked no other charges onto the invoice such as state sales tax because first, under

   Florida law, a building permit is not a “tangible” piece of property and second, a building

   permit was not being “sold” or “re-sold” by ABALUX. See, 29 CFR. 779.331 and F.S.

   212.02(15).10     When the customer paid ABALUX’s invoice for the permit fee, the

   customer was simply paying back a loan made by ABALUX. No interest was added to

   the loan. See Perez v. Ans, supra.

          Because ABALUX lacked the ability to “sell, exchange, contract to sell,

   consignment for sale, shipment for sale or otherwise dispose” of building permits, the

   sum of $6,486.13 which ABALUX received in reimbursements from customers for building

   permit fees it outlaid in 2015 does not count as “sales” or “business done.” 29 U.S.C. §

   203(k), 29 C.F.R. 541.501 (b) and Martinez- Pinillos v. Air Flow Filters, Inc., 738 F. Supp

                                                               
                  9
                      The total amount of building permit fees which ABALUX advanced paid to local
   governments on behalf of its customers was the following for the stated years:

          2014 $ 4,122.36
          2015 $ 6,597.13
          2016 $ 6,058.30

          Like sales tax, ABALUX did not break down building permit fee reimbursements it
   invoiced versus those actually paid in tax years 2014 and 2016 because even if the entire
   amount of building fee reimbursements for these years were counted towards annual
   gross volume of sales, they still would not put ABALUX at or over the $500,000.00
   threshold. ABALUX did break down the building fee reimbursements it invoiced and the
   reimbursement payments it actually received in 2015 for the purposes of summary
   judgment. [TAB D, 9/1/17 Marcos Declaration].
    
   10
           Indeed, the State of Florida’s definition of “sale” nearly tracks DOL’s definition of
   “sale”: “Any transfer of title or possession, or both, exchange, barter, license, lease, or
   rental, conditional or otherwise, in any manner or by any means whatsoever, of tangible
   personal property for a consideration.”

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   2d. 1268 (S.D. Fla. 2010).                                     The bottom line is that ABALUX’s annual gross volume of

   sales for 2015 totaled $493,231.32. 11

                 The evidence is clear and indisputable that ABALUX never met the definition of an

   “enterprise engaged in commerce” during years 2012-2016 because of its inability to meet

   the $500,000.00 threshold required by 29 U.S.C. 203(s)(A)(ii). Nor does COLLAR have

   evidence to dispute the accuracy of ABALUX’s 2014-2015 tax returns, Quickbooks™

   register or the amounts ABALUX declared and remitted to FDOR in sales tax. COLLAR

   had no clerical responsibilities at ABALUX. [TAB J, Collar response to RFA # 12]. He also

   had no responsibilities for preparing estimates or quoting prices for customers. He did not

   know if orders were cancelled or refunds were given to customers.                                         He had no

   responsibility for collection of unpaid invoices [Id, Collar responses to RFP #7, #8, #9, #

   11 and #12].

                 Likewise, COLLAR had no personal knowledge of ABALUX’s gross annual volume

   of sales. He could only guess based on how much he thought the employees were paid.

   [TAB I, Collar Depo, pp. 105:5-107:7; 111:11-25]. He did not have access to pricing

   information or how much a customer was charged for a job [Id, p. 113:6-114:2] except on

   one day when he saw a monitor that displayed the prices of some orders. [Id, p. 107:13-

   108:19].

                 COLLAR’s position did not require him to use or access Quickbooks. [TAB J,

   Collar response to RFA # 15]. He had no responsibility for entering customer invoices

                                                               
   11
         This figure is higher than the gross sales figure Mr. Massa stated on line 1(a) of
   ABALUX’s amended 2015 tax return because his calculation deducted all sales tax, not
   just at the retail level and building permit fee reimbursements. [TAB E, Massa
   Declaration].
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   into Quickbooks or for making sales for the company. [Id., Collar response to RFA # 4

   and # 6]. Nor was he responsible for paying state sales taxes to FDOR. [Id., Collar’s

   response to RFA # 17].

          COLLAR never had access to, or saw, any documents or communications

   between ABALUX and its accountant. [Id., Collar responses to RFA # 18 and #19]. did

   not have access to ABALUX’s tax returns and tax schedules. [Id., Collar responses to

   RFA #20, #21 and #27]. Plaintiff has no documents which contradict the accuracy of

   ABALUX’s tax returns or DR-15’s.         [Id., Collar responses to RFA # 25, #26, #28].

   Importantly, COLLAR has not designated an expert accountant.

          COLLAR may argue that ABALUX’s annual gross volume of sales should include

   payments received after January 1st of each tax year for orders placed in the prior year.

   However, the cash method basis of accounting is not based on the date of invoice but on

   the date of receipt of payment. [TAB E, Massa Declaration]. As a last attempt to find a

   toehold into FLSA coverage, COLLAR may argue that ABALUX and a business run by
                                                     12
   CABRAL’s father constitute a joint enterprise.         A joint employment relationship exists


                                                               
   12
           Defendants address the joint enterprise theory without prejudice to their position that
   COLLAR has waived his right to amend and add a joint enterprise theory to this case.
   COLLAR never pled a joint enterprise theory and did not amend his complaint to add this
   claim despite knowing from March, 2016 that ABALUX claimed it did not meet the
   $500,000.00 threshold for enterprise coverage. Defendants did not consent to an
   amendment. The joint enterprise theory was first raised in the deposition of Michelle
   Marcos taken on 7/20/17.       The deadline for amending pleading has long passed.
   COLLAR cannot amend his pleadings through the “back door” of a deposition. See,
   Hurlbert v. St. Mary's Health Care System, Inc., 439 F.3d 1286, 1297 (11th Cir. 2006);
   Velez v. Alexim Trading Corp, 2011 U.S. Dist. LEXIS 129410 (S.D. Fla. 2011) [party
   cannot raise new theory at summary judgment]. See also Berry v. Smith, 2008 U.S. Dist.
   LEXIS 60116 (S.D. Ala. 2008) [ party cannot amend pleadings through arguments first
   raised at summary judgment stage].
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   "where a single individual stands in the relation of an employee to two or more persons

   at the same time." Gonzalez-Sanchez v. Int'l Paper Co., 346 F.3d 1017, 1020 (11th Cir.

   2003). Under the FLSA, "a worker can be economically dependent on, and thus jointly

   employed by, more than one entity at the same time." Id. at 1021.

          In determining whether a joint employment relationship exists courts consider the

   following factors: (1) the nature and degree of the putative employer's control of the

   workers; (2) the degree of supervision, direct or indirect, of the work; (3) the right, directly

   or indirectly, to hire, fire or modify the worker's employment conditions; (4) the power to

   determine the worker's pay rates or methods of payment; (5) the preparation of payroll

   and payment of worker's wages; (6) the ownership of the facilities where the work occurs;

   (7) whether the worker performed a line job integral to the end product; and (8) the relative

   investment in equipment and facilities. Antenor v. D&S Farms, 88 F.3d 925, 932 (11th

   Cir. 1996). Quezada v. Sante Shipping Lines, Inc., 2013 U.S. Dist. LEXIS 45592 (S.D.

   Fla. 2013) citing 29 C.F.R. § 779.238. To test whether a joint enterprise exists, courts

   must "look beyond formalistic corporate separation to the actual, pragmatic operation and

   control" of the business entities. Cornell v. CF Ctr., LLC, 410 Fed. Appx. 265, 268 (11th

   Cir. 2011).

          The sole “evidence” that supports COLLAR’s theory is that CABRAL’s father and

   CABRAL each own a sign business. However, there is nothing else that ties the two

   businesses together. CABRAL’s 9/15/17 declaration [TAB F] establishes that:

                 CABRAL is not an officer, director, shareholder, employee or agent of his

                  father’s business and vice versa;


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                Each business employs its own workforce and each has its own payroll;

                Each maintains separate business records;

                ABALUX has never prepared payroll for Cabral’s father’s business or vice

                 versa;

                ABALUX has never supervised employees of Cabral’s business or

                 determined whom he should hire or fire and vice versa;

                The businesses do not share or exchange employees;

                The businesses each lease their own business premises and have their own

                 equipment and machinery;

                The businesses have different bank accounts and tax identification

                 numbers;

                CABRAL is not an authorized signer on his father’s business’s bank account

                 and vice versa;

                The businesses do not loan each other money;

                To the best of CABRAL’s knowledge, his father’s business has a totally

                 different base of customers;

                The businesses do not share or trade inventory or jointly order supplies;

                 and

                Each business has its own business licenses.

          Therefore, to the extent that COLLAR might attempt to amend at this stage (there

   is no allegation in the complaint of a joint enterprise theory) there is no disputed issue of



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   fact that ABALUX operates apart from CABRAL’s father’s business and they do not

   constitute a joint enterprise.

                                         Conclusion

          COLLAR has no evidence that ABALUX hid income, attributed income to the

   wrong tax year, was a joint enterprise or ever met or exceeded the $500,000.00 threshold

   for enterprise coverage in any year that he worked for ABALUX. His mere speculation

   about ABALUX’s daily revenues based on a one time glimpse of orders on a screen and

   guestimates of employees’ wages are insufficient to prevent entry of summary judgment

   in ABALUX’s favor for all years in the Relevant Time Period.

          WHEREFORE, ABALUX respectfully moves the Court to enter summary judgment

   in its favor based on the lack of enterprise coverage or individual coverage under the

   FLSA for the Relevant Time Period, and award ABALUX its attorney’s fees as sanctions

   for having to defend this case after Plaintiff and his counsel knew or should have known

   that there was no FLSA coverage and no law to support his claim as well as his costs.


                                    Respectfully Submitted,

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                                   CERTIFICATE OF SERVICE


         I HEREBY CERTIFY that a copy of the foregoing was filed electronically on 9/15/17
   through CM/ECF and that a copy of the foregoing will be served via notification through
   CM/ECF on all counsel or parties of record on the attached service list.


                                    By: /s/ Leslie W. Langbein
                                            Leslie W. Langbein, Esq.

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